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                     UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF MASSACHUSETTS



ESTADOS UNIDOS MEXICANOS,

                 Plaintiff,

            v.                              1:21-CV-11269-FDS

SMITH & WESSON BRANDS, INC., et al.,

                  Defendants.




       BRIEF OF LATIN AMERICAN AND CARIBBEAN NATIONS AND NGO
         AS AMICI CURIAE IN SUPPORT OF PLAINTIFF’S OPPOSITION
                   TO DEFENDANTS’ MOTION TO DISMISS


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   https://www.theguardian.com/commentisfree/2021/apr/16/us-made-
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                             INTEREST OF AMICI CURIAE

                Amici curiae Antigua & Barbuda and Belize are sovereign states in the

Latin America and Caribbean (“LAC”) region. These governments have a solemn duty to

protect the lives, health, and security of their citizens.

                Amicus curiae Association for Public Policies, d/b/a/ the Latin American

and Caribbean Network for Human Security (“SEHLAC”), coordinates a network of

non-governmental organizations (“NGOs”) and affiliated professionals specializing in

international humanitarian law and seeks the disarmament of the LAC region and the

world.1 SEHLAC has members in Argentina, Brazil, Chile, Colombia, El Salvador,

Guatemala, Mexico, and Peru and works with other NGOs throughout the region, including

in Costa Rica, Ecuador, Honduras, Nicaragua, Panama, Paraguay, and Uruguay.

                Violent crime has gravely harmed LAC nations and their citizens, especially

in recent years. A substantial portion of this violence has been perpetrated using firearms

unlawfully trafficked from the United States. LAC nations have diligently pursued an end

to this unlawful gun trafficking, but these steps have not proved capable of stemming the

tide. Unlawful trafficking of American firearms must be curtailed at its source: the U.S.

gun industry. The gun manufacturers and distributers from a single nation must not be

permitted to hold hostage the law-abiding citizens of an entire region of the world.

                The undersigned amici curiae respectfully submit this brief to inform the

Court that, although Mexico is the only party plaintiff, the defendants’ business practices

have also harmed, and continue to harm, many other nations. A properly framed

remedy—in addition to ensuring the defendants’ compliance with applicable state, federal,


1 Seguridad Humana en Latinoamerica y El Caribe (SEHLAC), SEHLAC.org.




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and international laws and bringing significant benefit to Mexico—would save many lives

throughout the LAC region.

                                       ARGUMENT

I.       Illicit Firearms Trafficking from the United States Harms People Throughout
         the LAC Region

         A.      The LAC region faces an unprecedented crisis of gun violence caused by
                 the ubiquity of illegal firearms

                 Gun violence is one of the most pressing public health crises facing the LAC

region today. The region experiences a disproportionate share of violent crime. It accounts

for 8% of the world’s population but 37% of the world’s homicides.2 The Americas suffer

17.2 intentional homicide deaths per 100,000 people each year, nearly three times the

global average. 3 And the World Health Organization characterizes violence as “endemic”

throughout the region.4 This crisis of violent crime persists despite major recent gains in

wealth and welfare across the region, such as a decrease in poverty from 45% to 25% and

a decrease in income inequality. 5 Homicide deaths in the region began to fall in the early

2000s, when the federal government of the United States banned assault weapons, but after

the ban was lifted, those gains were lost. 6




2    Laura Chioda, Stop the Violence in Latin America: A Look at Prevention from Cradle
     to Adulthood 1 (The World Bank, 2017) (hereinafter the “World Bank Report”).
3    See United Nations Office on Drugs and Crime, Global Study on Homocide:
     Homocide: Extent, Patterns, Trends and Criminal Justice Response 14 fig.2 (2019).
4    World Bank Report 3.
5    Id. at 3.
6    Id. at 1.


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                  The principal cause of this abnormally high rate of violence in the LAC

region is the ubiquity of illegal firearms. As the United Nations has explained, “[t]he

availability of firearms is linked to the homicide rate: a rise in the rate of firearms

possession in a country often goes together with an increase in the homicide rate.” 7 Firearm

availability is linked especially closely to “homicides related to gangs or organized crime,”

which are unfortunately common in the LAC region. 8 Put simply, “firearms are key

enablers of high homicide levels.”9

                  It is, therefore, unsurprising that firearms cause the vast majority of

homicides in the Americas: nearly four out of every five.10 By contrast, in other regions

of the world firearms are used to commit less than half of all homicides.11

           B.     A significant number of the firearms causing this violence are manufactured
                  or distributed in the United States and then illegally trafficked to the LAC
                  region

                  American manufacturers are a significant source—for some LAC nations,

the single most significant source—of illegal firearms. The playbook for trafficking guns

from America to the LAC region is well-known. Many guns are purchased “at gun shows

and other secondary sources, which require fewer checks o n a person’s identity and




7    United Nations Office on Drugs and Crime, Global Study of Firearms Trafficking 2020,
     at 13 (2020).
8    Id.
9    Id. at 81.
10   See United Nations Office on Drugs and Crime, Global Study on Homicide:
     Understanding Homicide: Typologies, Demographic Factors, Mechanisms and
     Contributors 77 fig.52 (2019).
11   Id.


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criminal history.” 12 Manufacturers and distributors like the defendants supply guns to these

venues, despite knowing that many will ultimately end up in criminals’ hands.

                Furthermore, traffickers buy many guns from traditional firearms dealers.

They commonly recruit “straw purchasers,” people who are capable of executing the

necessary paperwork and passing a background check. The straw purchasers buy guns on

the traffickers’ behalf, using the traffickers’ funds.13 Traffickers also rely heavily on bulk

purchases, in which an individual (often a straw purchaser) buys many firearms at once

without any lawful purpose for doing so. Indeed, “20–25% of all handguns recovered at

crime scenes were originally purchased as part of a multiple sale.”14

                Most dealers are reputable and decline to engage in such business; as the

Complaint alleges, more than 85% of dealers have never had their guns traced to a crime.

(Compl. ¶ 119.) However, a relatively small number of dealers condone straw purchases,

unwarranted bulk purchases, and other improper practices. The defendants nevertheless

continue to supply these dealers with guns. (Compl. ¶¶ 118–133.)



12   Colby Goodman and Michael Marizco, U.S. Firearms Trafficking to Mexico: New Data
     and Insights Illuminate Key Trends and Challenges 25 (Woodrow Wilson International
     Center for Scholars, Mexico Institute 2010).
13   Gabriela Martinez, The Flow of Guns from the U.S. to Mexico Is Getting Lost in the
     Border Debate, PBS (2019), https://www.pbs.org/newshour/politics/the-flow-of-guns-
     from-the-u-s-to-mexico-is-getting-lost-in-the-border-debate; Goodman and Marizco,
     supra note 1, at 22 (“In a large majority of cases, several straw purchasers and one or
     more intermediaries or brokers are used to traffic firearms to Mexico.”).
14   Bulk Gun Purchases, Giffords Law Center to Prevent Gun Violence,
     https://giffords.org/lawcenter/gun-laws/policy-areas/crime-guns/bulk-gun-purchases/
     (last visited Jan. 31, 2022) (citing Christopher S. Koper, Crime Gun Risk Factors:
     Buyer, Seller, Firearm, and Transaction Characteristics Associated with Gun
     Trafficking and Criminal Gun Use, National Institute of Justice (2007),
     https://www.ncjrs.gov/pdffiles1/nij/grants/221074.pdf).


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                  Once traffickers have guns in hand, their paths to the LAC region vary.

Many smuggle guns by land across the southern border using ordinary “cars, trucks, vans,

or busses.”15 Sometimes they “disassemble[] [guns] into many parts, making them easier

to hide.”16 Other evasive techniques include “zip-tying the firearms to a hidden

compartment of the vehicle” or “stuff[ing] the[m] [] under a truck bed liner or in a fuel

tank.”17 Sometimes traffickers use more sophisticated methods, including “tunnels under

the U.S.-Mexican border,”18 boats, and planes.

                  Catching smugglers once they have already acquired defendants’ guns can

be difficult. Gun smuggling from the United States to the LAC region is undertaken in

part by transnational crime organizations, fostering “intense competition . . . to dominate

lucrative smuggling corridors,” including for the “southbound f low of . . . illegal weapons

across the U.S. border.” 19 Such organizations “use firearms, ammunition, and explosives

to protect their trafficking routes . . . [and] have orchestrated sophisticated attacks on . . .

security forces, with increasing use of .50 caliber rifles, modified fully automatic rifles,

and belt-fed machine guns to counter Mexican security forces.” 20




15    Goodman and Marizco, supra note 1, at 26.
16    Gabriela Martinez, supra note13.
17    Goodman and Marizco, supra note 1, at 26.
18    Id. at 27
19    Firearms Trafficking: U.S. Efforts to Disrupt Gun Smuggling into Mexico Would
      Benefit from Additional Data and Analysis, United States Government Accountability
      Office, 4 (Feb. 2021), available at https://www.gao.gov/products/gao-21-322.
20    Id.


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                 Researchers have estimated that about 873,000 guns are trafficked from the

U.S. to Mexico each year. (Compl. ¶ 437.)21 Nearly half of all crime guns recovered in

Mexico (47.9%) were traced back not just to the United States in general but to the

defendants in particular. (Compl. ¶¶ 434–435.) And these overland gun trafficking routes

do not stop in Mexico; they continue on to Central and South America. Additional guns

are smuggled directly into the LAC region by plane.22

                 It is no surprise, therefore, that the United Nations describes North America

as a significant “departing subregion” for transnational firearms trafficking to Central and

South America,23 nor that trace data from the U.S. Department of Justice, Bureau of

Alcohol, Tobacco, Firearms, and Explosives (the “ATF”) supports this conclusion. Based

on ATF data for 2020, for many Central American countries, around half of all firearms

submitted for tracing had been manufactured in or trafficked through the United States: 24

             Country               Percentage of Firearms Submitted to ATF for Tracing
                                    That Had Been Trafficked from or Through the U.S.
 Belize                           55.1%



21    The United States Government Accountability Office itself has estimated that 200,000
      U.S.-sourced firearms are trafficked into Mexico each year, despite U.S. agencies’
      efforts to address this problem. United States Government Accountability Office,
      supra note 19, at 36.
22    See, e.g., Colby Goodman, U.S. Firearms Trafficking to Guatemala and Mexico 9
      (Woodrow Wilson Center for Scholars 2013) (examining the flow of guns from the
      United States to Guatemala and describing “[t]wo main smuggling routes . . . 1)
      crossing U.S., Mexican, and Guatemalan borders by land; and 2) carrying firearms in
      checked luggage on commercial and civilian passenger airplanes flying from the United
      States to Guatemala.”).
23
      United Nations Office on Drugs and Crime, supra note 7, at 10.
24    Firearms Trace Data – 2020, Bureau of Alcohol, Tobacco, Firearms and Explosives
      (2020), https://www.atf.gov/resource-center/firearms-trace-data-2020.


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 El Salvador                       53.4%

 Guatemala                         37.3%

 Honduras                          57.7%

 Panama                            57.7%


Between 2014 and 2016, across 15 countries in North America, Central America, and the

Caribbean, 50,133 guns that originated in the United States were recovered as part of

criminal investigations. 25

                 Given the prevalence of illegal American guns in the LAC region and the

clear link between these guns and elevated rates of violence, there can be no doubt that the

U.S. gun industry’s practices, as detailed in the Complaint, have caused significant harm

not only to Mexico but also to nations throughout the LAC region.

         C.      Every day, American firearms end or forever alter the lives of innocent
                 citizens in the LAC region

                 Illegal firearms trafficking from the United States has a devastating impact

on the citizens of LAC nations, ending many lives and upending many more. Statistics,

while useful, cannot fully capture these losses. Therefore, we describe some of the

circumstances in which LAC citizens’ lives were ended or forever altered by gun

violence:26


25    Chelsea Parsons and Eugenio Weingend Vargas, Beyond Our Borders, Center for
      American Progress (Feb. 2, 2018), https://www.americanprogress.org/article/beyond-
      our-borders/.
26    Citizens from every nation in the LAC region have suffered the effects of gun violence.
      However, in the interest of brevity, the amici offer here only a representative sample of
      incidents from several LAC nations. Furthermore, amici do not represent that
      defendants’ weapons were used in every incident described herein. It is not always
      possible to know who manufactured or distributed the gun used to commit a crime.
      Still, given that “U.S.-sourced guns [a]re used to commit crimes in nearby countries

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                 Belize:         In recent months, gang-related gun violence has sharply

risen in Belize. This past September, the country mourned a 15-year-old student who was

shot and killed while purchasing bread for his mother at a shop in Belize City. 27 The tragic

killing prompted Prime Minister John Briceno to lament that “gang leaders and their

surrogates . . . for more than two decades have terrorized and plagued our once peaceful

communities in Belize City” and that this violence had spread “in the past 10 years [to] all

urban areas across the country.” 28 Unfortunately, the violence Prime Minister Briceno

spoke about has continued into the new year, including two separate gun -related murders

that were recorded in a span of just 24 hours this month.29

                 Costa Rica: Historically a very peaceful country with a low crime rate,

Costa Rica experienced a significant increase in gun-related crimes in the years following

the expiration of the U.S. federal assault weapons ban.30 The murder rate in Costa Rica is




      approximately once every 31 minutes,” id., and that defendants’ guns comprise about
      half of all American firearms trafficked illegally over the southern border, see Compl.
      ¶¶ 434–435, it is certain that if the defendants’ guns were not used to commit a specific
      crime described herein, they were used to carry out other, similar crimes.
27    Melissa Wong, Gangs Terrorizing Belize, Prime Minister Says the Violence Must Stop,
      Loop Caribbean News (Sept. 28, 2021), https://caribbean.loopnews.com/content/
      gangs-terrorising-belize-prime-minister-says-violence-must-stop.
28    Id.
29    Vejea Alvarez, The LIU Kicks into Action After Gun Violence in the City Erupts, Love
      FM News (Jan. 21, 2022), https://lovefm.com/the-liu-kicks-into-action-after-gun-
      violence-in-the-city-erupts/.
30    Jude Webber, Costa Rica Flinches as Crime Taints Its Reputation for the Pura Vida,
      Financial Times (January 15, 2020), https://www.ft.com/content/fd1fc974-36b9-11ea-
      a6d3-9a26f8c3cba4.


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now at “epidemic levels.”31 This past October, for instance, six people—including an

American man—were killed by gunfire in what officials believe may have been a robbery

at a ranch owned by the American.32

                Haiti:         Gun violence in Haiti has made headlines worldwide. In

2020, Haitian authorities reported 1,380 killings, a 20% increase from the previous year.

No one is safe: victims in 2020 included a judge, the president of the Port-au-Prince Bar

Association, and four police officers who were killed during a failed raid on the stronghold

of a criminal gang; the gang then held the bodies of the slain officers hostage. 33 Then, in

July 2021, “assassins armed with assault rifles” stormed the residence of the sitting

President of Haiti and assassinated him. 34

                Illegal firearms have also been used to perpetrate many recent kidnappings

throughout Haiti. For instance, in April 2021, a group of men carrying automatic firearms

barged into the Gospel Kreyol Ministry during a Holy Thursday church service and

abducted the pastor and three parishioners while other parishioners participating via




31    Id.
32    Associated Press, 6 people, Including 1 American, Slain at Ranch in Costa Rica, ABC
      News (October 18, 2021), https://abcnews.go.com/International/wireStory/people-
      including-american-slain-ranch-costa-rica-80653569.
33    Evens Sanon and Danica Coto, Surge in Violence Rattles Haiti as Poverty, Fear
      Deepens,          ABC            News           (April          16,           2021),
      https://abcnews.go.com/International/wireStory/surge-violence-rattles-haiti-poverty-
      fear-deepens-77115520.
34    Reuters, Explainer: The Hunt for the Haitian President’s Assassins (Jul. 23, 2021),
      https://www.reuters.com/world/americas/hunt-haitian-presidents-assassins-2021-07-
      16/.


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livestream watched in horror.35 The kidnappers held the victims for three days, until

Church members paid a ransom.36 Other recent hostages have included priests, a hospital

director, elementary school children, and a member of the president’s security unit.37

                   Jamaica:        Gun violence in Jamaica has so sharply increased in recent

years that the government called a state of emergency and activated the military to counter

the bloodshed. 38 American guns are commonly found to fuel these jarring episodes of

violence. For instance, the New York Times has identified a single U.S.-manufactured

handgun as used in the killing of nine individuals in Jamaica between 2015 and 2018. 39

The New York Times effectively summarized American manufactu rers’ role in

contributing to this violence:

            Worldwide, 32 per cent of homicides are committed with firearms . . . In
            Jamaica, the figure is higher than 80 per cent. And most of those guns come
            from the United States. . . . Law enforcement officials, politicians and even
            gangsters on the street agree: It’s the abundance of guns, typically from the
            United States, that makes the country so deadly. 40

The same could be said of the LAC region as a whole.




35    Evens Sanon and Danica Coto, supra note 34.
36    Id.
37    Id.
38    Azam Ahmed, One Handgun, 9 Murders: How American Firearms Cause Carnage
      Abroad, The New York Times (Aug. 26, 2019), https://www.sbs.com.au
      /news/dateline/one-handgun-9-murders-how-american-firearms-cause-carnage-
      abroad.
39    Id.
40    Id.


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         D.     American firearms also trigger many collateral harms, such as dislocation
                of those fleeing gun violence

                The gun violence plaguing the LAC region has also contributed to a variety

of secondary harms. For instance, the violence has caused waves of dislocation as

frightened citizens of LAC nations migrate north, fleeing violence. As a State Department

official explained to Congress, “[i]n Central America and elsewhere in the hemisphere,

traffickers, criminal gangs, and terrorists use illegally obtained small arms and light

weapons to advance a culture of violence and fear that threaten s civilian security and

contributes to the root causes of migration.” 41 Asked why they left home, Central

American asylum applicants frequently cite attacks by criminals bearing firearms.42

                Another tragic secondary harm has been the disruption of lifesaving aid

efforts. The surge of gun violence in Haiti, for instance, has disrupted efforts to distribute

aid as the country continues to recover from a massive earthquake in 2010, a recent cholera

outbreak, and the COVID-19 pandemic.43

                Gun crime also exacts a significant economic toll. Tourism is an important

industry for many LAC nations—for example, comprising nearly 60% of Antigua &




41    Karen Chandler, Weapons Security in Latin America: Addressing the Root Causes of
      Migration, Congressional UXO and PSSM Caucus, U.S. Department of State (Oct. 27,
      2021), https://www.state.gov/weapons-security-in-latin-america-addressing-the-root-
      causes-of-migration/.
42    Ioan Grillo, US-made Guns Are Ripping Central America Apart and Driving Migration
      North, The Guardian (Apr. 16, 2021), https://www.theguardian.com/commentisfree
      /2021/apr/16/us-made-guns-central-america-migration.
43    Evens Sanon and Danica Coto, supra note 34.


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Barbuda’s GDP. 44 Increases in gun crime jeopardize the tourism industry, seriously

threatening the region’s economic well-being. For example, in January 2020, Costa Rica

suffered 20 murders during the first week of the year. Soon thereafter, the United States

altered its travel advisory for Americans visiting Costa Rica from Level 1 to Level 2,

recommending travelers exercise “increased caution” due to crime. 45 This could have a

negative impact on Costa Rica’s economic outlook, as the United States is Costa Rica’s

largest single market for tourism, the primary industry driving the country’s economy. 46

As the Complaint describes, it is American companies, like the defendants, that have the

power to curb this violence by adopting reasonable retail and manufacturing practices.

II.         The Court’s Granting of Relief in This Litigation Would Mitigate These
            Harms

                  As Mexico’s Complaint alleges in detail, the remedies plaintiff seeks

include simple, commonsense steps that could sharply curtail the trafficking and criminal

use of defendants’ firearms, as well as the resulting harms suffered by LAC nations and

their citizens. This Court can and should order defendants to take such steps.

                  First, the Court should order the defendants to cease working with the small

number of dealers whose misconduct precipitates the vast majority of illegal firearms

trafficking. Most crime guns are traced back to a very small number of dealers: as the

Complaint alleges, about 90% of crime guns are traced back to under 10% of dealers.




44 Antigua and Barbuda – Economic Indicators, Moody’s Analytics,
   https://www.economy.com/antigua-and-barbuda/indicators (last visited Jan. 31, 2022)
45    Jude Webber, supra note 31.
46    Id.


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(Compl. ¶ 119.)47 Defendants “are not foreclosed from closing off illegal flows of their

guns to such retailers.”48 Indeed, as Judge Weinstein found, “Relatively excessive numbers

of traces to specific retailers or first purchasers is . . . cause for alarm by [manufacturers].”49

Nevertheless, defendants turn a blind eye. This Court should require defendants to

implement a simple, commonsense reform: refraining from continuing to supply these

dealers.


                 Excommunicating these few bad actors would make a meaningful

difference in ensuring that the defendants’ firearms are not illegally trafficked. “In

Milwaukee, for example, a single dealer was linked to a majority of the guns used in the

city’s crime.” 50 After that dealer was pressured to reform its practices, “the city saw a 76

percent reduction in the flow of new guns from that shop to criminals and a 44 percent

reduction in new crime guns overall.” 51 A similar reduction in trafficking of defendants’

guns would save thousands of lives in the LAC region.

                 Second, the Court should order the defendants to work only with dealers

that implement commonsense steps at the counter to ensure that the defendants’ guns are



47    See also ATF, Crime Gun Trace Reports (2000): The Youth Gun Interdiction Initiative,
      at 47 tbl.19 (Jul. 2002) (showing that among dealers who were the subject of at least
      one trace, just 7.2% of dealers accounted for more than half of all traces).
48
      AcuSport, Inc., 271 F. Supp. 2d at 504.
49    Id.
50    This Is How We Save Lives from Gun Violence, Washington Post (Mar. 23, 2018),
      https://www.washingtonpost.com/graphics/2018/opinions/gun-control-that-works/.
51    Id; see also Webster, et al., Effects of a Gun Dealer’s Change in Sales Practices on the
      Supply of Guns to Criminals, 83(5) J. Urban Health 778 (2006), available at
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2438583/.


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not sold to criminals. Specifically, the defendants should require dealers (1) to hinder straw

purchases by imposing reasonable ID requirements, (2) to permit bulk sales only with

appropriate evidence that the purchases are for lawful use, and (3) to carefully screen

civilian purchasers who seek to buy military grade weapons.

               Evidence shows that similar steps are effective. For example, Virginia

limited bulk gun sales through a one-gun-a-month law in 1993. Significantly fewer crime

guns were thereafter traced back to Virginia dealers, demonstrating that “limiting the

purchase of handguns to no more than 1 per month per person is an effective means of

disrupting the illegal interstate transfer of firearms.” Douglas S. Weil and Rebecca C.

Knox, Effects of Limiting Handgun Purchases on Interstate Transfer of Firearms , 275

JAMA 1759, 1761 (1996); see also 141 Cong. Rec. S11,201-03 (Aug. 2, 1995) (Douglas

S. Weil and Rebecca C. Knox, Evaluating the Impact of Virginia’s One‐Gun‐A‐Month

Law) (noting “a strong, consistent pattern in which guns originally obtained in the

Southeast are less likely to be recovered as part of a criminal investigation and traced back

to Virginia if they were purchased after the Virginia law went into effect”); AcuSport, Inc.,

271 F. Supp. 2d at 450 (finding as a fact, after trial, that “requiring retailers to avoid

multiple or repeat sales to the same customers . . . [is] an effective way of checking illegal

handgun diversion as revealed by the fact that Virginia, which was a major supplier of

illegal handguns to New York, almost immediately largely choked off that supply when it

enacted a law limiting multiple sales to the same person”).

               The amici curiae do not mean to suggest that the Court should require

manufacturers to “ban” bulk purchases; Virginia dealers, for example, still permit bulk

sales when residents apply for a waiver of the one-gun-a-month limit. The vast majority



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of waiver applications are granted, without diminishing the efficacy of the policy. See

Study of Virginia’s Law on Handgun Purchase Limits, Virginia State Crime Commission,

at 7 (House Document No. 28, 1996) (concluding that “law-abiding gun purchasers in

Virginia are not unduly burdened by Virginia’s one-gun-a-month law”).52 By the same

token, this Court could substantially remedy the harms caused by defendants’ practices,

while still permitting lawful bulk purchases, by requiring defendants to take reasonable

steps to ensure that dealers make bulk sales only with adequate documentation.

                Finally, the Court should require defendants to make long-promised

manufacturing changes—changes that could increase safety and reduce death.53 While

data on nascent manufacturing measures is scarcer than data on retailer reforms, there is

evidence that implementation of smart guns, trigger locks, and hidden serial numbers, for

example, could profoundly reduce firearm-caused harms—as could manufacturing

changes that would prevent criminals from easily converting guns to enable fully automatic




52    See also Fact Sheet on Virginia’s One-Handgun-A-Month Law, The Virginia Center
      for Public Safety, https://www.vacps.org/images/fact-sheet-on-one-handgun-a-month-
      law.pdf (last visited Jan. 31, 2022).
53    Cf. Daniel Trotta, Exclusive: Smart Guns Finally Arriving in U.S., Seeking To Shake
      Up Firearms Market, Reuters (Jan. 11, 2022) , https://www.reuters.com/technology
      /exclusive-smart-guns-finally-arriving-us-seeking-shake-up-firearms-market-2022-
      01-11/ (“When Smith & Wesson pledged in 1999 to promote smart gun development,
      among other gun safety measures in an agreement with the U.S. government, the
      National Rifle Association sponsored a boycott that led to a drop in revenue.”).


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fire.54 Despite the defendants’ delays, some of these forms of technology are already

commercially available.55


                                          * * * * *

                 Courts can, and have, previously ordered reforms like these to curb illegal

gun trafficking. For example, a Georgia court appointed a special master to administer a

settlement between New York City and many gun dealers. The special master was directed

“to ensure that each gun dealer complied with all applicable firearm sales laws.” 56 Under

the terms of the order, “[g]un dealers were required to allow the special masters to use

in-store observation (including use of videotape surveillance); records monitoring . . . ;

inventory inspections; random and repeated sales integrity testing; and instructional

programs designed to provide best practices sales training to all employees involved in


54    “One small study found that over seven years, 37 percent of gun deaths could have
      been prevented by smart guns.” Washington Post, Gun Control that Works (Mar. 3,
      2018),      https://www.washingtonpost.com/graphics/2018/opinions/gun -control-that-
      works/ (citing J.S. Vernick, et al., Unintentional and Undetermined Firearm Related
      Deaths: a Preventable Death Analysis for Three Safety Devices, 9(4) Inj. Prev. 307
      (2003), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1731016/); see
      also, e.g., David Hemenway, Reducing Firearm Violence 46 Crime & Justice 201, 210–
      211 (2017) (discussing manufacturing changes to make guns safer).
55    (Compl. ¶¶ 99 (“Internal locks, and other features less sophisticated than smart guns,
      have been used in some guns sold to the public.”), 101 (“Defendants have long had the
      commercial and technological capability to install these safeguards in their guns.”), 365
      (“For example, years ago Beemiller d/b/a Hi Point Guns began including a second
      hidden serial number on some guns.”)); see Trotta, supra note 52 (detailing arrival of
      smart guns in America this year, including some that are already being beta tested by
      law enforcement).
56    Bloomberg, et al, Reducing Gun Violence in America: Informing Policy with Evidence
      and Analysis 126 (Daniel W. Webster and Jon S. Vernick eds., Johns Hopkins
      University Press 2013); see also Diane Cardwell, 2 Georgia Gun Dealers Settle Suit
      Brought by New York City (Aug. 1, 2006), https://www.nytimes.com/2006/08/01/
      nyregion/2-georgia-gun-dealers-settle-suit-brought-by-new-york-city.html.


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firearm sales.” 57 The dealers were “also required to file a performance bond with the

Court” that “required the gun dealer, usually within 15 days of its signing, to forfeit a

designated amount of money to New York City anytime the special master found that the

dealer sold a gun to a straw purchaser or violated other applicable gun sales laws and

regulations.” 58 These simple changes made a world of difference. Following the

settlement, the rate at which crime guns recovered by NYPD were linked to these dealers

dropped by more than 80 percent.59

                 Likewise, Judge Weinstein of the United States District Court for the

Eastern District of New York found as fact after a trial that there are “obvious and easily

implemented steps” to reduce the harms caused by guns, including “requiring retailers to

avoid multiple or repeat sales to the same customers.” AcuSport, Inc., 271 F. Supp. 2d at

504. Other approaches that manufacturers could have employed “include[ed] ‘imposing

liability insurance standards; limiting sales at gun shows; limiting multiple sales; limiting

how the consumer gun transaction can be conducted to insure security; education and

training of dealers; and monitoring dealers through visitation and other regular

interaction.’” Id. at 523. Judge Weinstein imposed no remedy only because he found that

plaintiffs had not carried their burden for reasons particular to New York’s law of

nuisance.60


57    Bloomberg, et al., supra note 56, at 126.
58    Id. at 126–27.
59    Id. at 128–29
60    As noted in the Complaint, the efficacy and practicability of the remedies plaintiff
      requests are also borne out by the inclusion of many of them in a global settlement
      between defendant Smith and Wesson and the United States Department of Ju stice.
      Under the Settlement, Smith and Wesson agreed to a variety of sales, distribution, and

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               At this stage of the case, the Court need not concern itself with the proper

form of any specific remedy; lay and expert discovery will, no doubt, develop evidence

bearing on that inquiry. The amici curiae offer these observations on remedy at this stage

only to assure the Court that it could craft a decree compelling the defendants to take

commonsense steps that could not only ensure their compliance with state, federal, and

international laws but also save many lives, not only in Mexico but also throughout the

hemisphere.




   manufacturing controls intended to reduce gun violence. See Press Release, The White
   House, Clinton Administration Reaches Historic Agreement with Smith and Wesson
   (Mar.                                   17,                                   2000),
   https://clintonwhitehouse4.archives.gov/WH/New/html/20000317_2.html.


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                              CONCLUSION

           The Court should deny the defendants’ motion to dismiss.


Dated:     January 31, 2022
           New York, New York

                                Respectfully submitted,


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